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               Exhibit G
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                            UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF IDAHO
                                 SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

                        Plaintiff,                     Case No. 1:22-cv-329-BLW

 v.

 THE STATE OF IDAHO,

                        Defendant.



                             DECLARATION OF LISA NEWMAN

       Pursuant to 28 U.S.C. § 1746, I, Lisa Newman, hereby declare:

       1.      I am an attorney in the U.S. Department of Justice, Civil Division, Federal Programs

Branch. I am assigned to represent the United States in the above-captioned case. The statements

made herein are based on my personal knowledge, and on information made available to me in the

course of my duties and responsibilities as Government counsel in this case.

       2.       I submit this declaration in support of the United States’ Motion for a Preliminary

Injunction.

       3.      Filed herewith as United States’ Exhibits 1-3 are true and correct copies of the

following documents that I downloaded from the indicated websites:


 Exhibit No.                                      Exhibit Name

       1         Centers for Medicare & Medicaid Service (CMS) Form 855, available at
                 https://perma.cc/84T6-S2DP (last visited Aug. 8, 2022)

       2         Centers for Medicare & Medicaid Service (CMS) Form 1561, available at
                 https://perma.cc/5EPE-YLRE (last visited Aug. 8, 2022)
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       3        Idaho Dep’t of Health & Welfare, 2010-2020 Idaho Resident Births, VS Natality –
                Data Results, 2010-2020, available at https://www.gethealthy.dhw.idaho.gov/idaho-
                births-vital-statistics (last visited Aug. 8, 2022)


       I swear under penalty of perjury that the foregoing is true and correct. Executed on August

8, 2022, in Washington, D.C.


                                             /s/Lisa Newman
                                             Lisa Newman

                                             Counsel for the United States




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